 

IN THE UNITED STATES DISTRICT COURT

 

FOR THE NORTHERN DISTRICT OF OHIO

 

 

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT jeu wen
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Plaintiff, ) Bh! =
)
) Title 21, Sections $4Tta) ‘D, i x (C), :
DEVANTE GLENN, aka POLO, ) 843(b), and 853, United States Code
)
Defendant. )
)
COUNT 1
(Distribution of Carfentanil, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C))
The Grand Jury charges:
1. On or about July 19, 2017, in the Northern District of Ohio, Eastern Division,

Defendant DEVANTE GLENN, aka POLO, did knowingly and intentionally distribute a mixture
or substance containing a detectable amount of carfentanil, a Schedule II controlled substance, in
violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

COUNT 2
(Distribution of Carfentanil, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

The Grand Jury charges:

2. On or about July 19, 2017, in the Northern District of Ohio, Eastern Division,
Defendant DEVANTE GLENN, aka POLO, did knowingly and intentionally distribute a mixture
or substance containing a detectable amount of carfentanil, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).
ENHANCED PENALTY UNDER TITLE 21,
UNITED STATES CODE, SECTION 841(b)(1)(C)
(Death or Serious Bodily Injury Resulting from Use of Controlled Substance,
in violation of 21 U.S.C. § 841(b)(1)(C))

3, The allegations of Count 2 are hereby re-alleged and incorporated herein. On or
about July 19, 2017, in Solon, Ohio, R.D., a person whose identity is known to the Grand Jury,
did fatally ingest and overdose on a controlled substance, namely carfentanil, which DEVANTE
GLENN, aka POLO, had distributed to R.D.

4, As aresult of DEVANTE GLENN, aka “Polo’s” distribution of carfentanil as
alleged in Count 2, death did result from the use of carfentanil, a Schedule II controlled
substance.

All in violation of the enhanced penalty provisions of Title 21, United States Code,
Section 841(b)(1)(C).

COUNT 3
(Use of a Communication Facility to Facilitate a Felony Drug Offense,
in violation of 21 U.S.C. § 843(b))
The Grand Jury further charges:

5. On or about July 19, 2017, in the Northern District of Ohio, Defendant
DEVANTE GLENN, aka POLO, did knowingly and intentionally use a communication facility,
to wit: the telephone, to facilitate acts constituting a felony under Title 21, United States Code,

Section 841(a)(1), that is distribution of carfentanil, a Schedule II controlled substance, in

violation of Title 21, United States Code, Section 843(b).
FORFEITURE

The Grand Jury further charges:

6, For the purpose of alleging forfeiture pursuant to Title 21, United States Code,
Section 853, the allegations of Counts | and 3 are incorporated herein by reference. As a result
of the foregoing offenses, Defendant DEVANTE GLENN, aka POLO, shall forfeit to the United
States any and all property constituting, or derived from, any proceeds he obtained, directly or
indirectly, as the result of such violations; and any and all of his property used or intended to be

used, in any manner or part, to commit or to facilitate the commission of such violations.

A TRUE BILL.

Original document -- Signatures on file with the Clerk of Courts pursuant to the E-Government

Act of 2002.
